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1    BAKER BOTTS LLP
     John M. Taladay (pro hac vice)
2    Thomas E. Carter (pro hac vice)
     Andrew L. Lucarelli (pro hac vice)
3    700 K Street, N.W.
     Washington, D.C. 20001
4    202.639.7700
     202.639.7890 (fax)
5    Email: john.taladay@bakerbotts.com
            tom.carter@bakerbotts.com
6           drew.lucarelli@bakerbotts.com
7    Jonathan Shapiro (State Bar No. 257199)
     101 California Street, Suite 3600
8    San Francisco, CA 94111
     415.291.6200
9    415.291.6300 (fax)
     Email: jonathan.shapiro@bakerbotts.com
10
     Attorneys for Defendant Irico Display
11   Devices Co., Ltd.
12

13
                                  UNITED STATES DISTRICT COURT
14                               NORTHERN DISTRICT OF CALIFORNIA
                                       OAKLAND DIVISION
15

16   IN RE: CATHODE RAY TUBE (CRT)                Case No.: 4:07-cv-05944 JST
     ANTITRUST LITIGATION
17                                                MDL No. 1917
18
     This document relates to:                    ANSWER OF IRICO DISPLAY DEVICES
19                                                CO., LTD. TO DIRECT PURCHASER
     ALL DIRECT PURCHASER ACTIONS                 PLAINTIFFS’ CONSOLIDATED
20                                                AMENDED COMPLAINT
21

22
                                                  Trial Date: None Set
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 1          Defendant Irico Display Devices Co., Ltd. (“Display”), by and through its undersigned

 2   counsel of record, answer the Direct Purchaser Plaintiffs’ (“Plaintiffs”) Consolidated Amended

 3   Complaint (the “Complaint”) and allege additional or affirmative defenses as follows. The

 4   Complaint contains numerous headings, which are not allegations and do not require a response from

 5   Display. For ease of reference, the headings in this Answer correspond to the headings in the

 6   Complaint. To the extent that any headings are construed as allegations, they are denied. Display

 7   denies each and every allegation in all portions of the Amended Complaint not contained in

 8   numbered paragraphs. To the extent that the Complaint’s allegations concern persons and/or entities

 9   other than Display, Display denies that such allegations support any claim for relief against Display.

10                                          I. INTRODUCTION

11          1.      Display admits that Plaintiffs purport to bring this case as a class action on behalf of

12   the persons described in the first sentence of Paragraph 1 of the Complaint, but Display denies that

13   this action is appropriate under Rule 23 of the Federal Rules of Civil Procedure. Display further

14   denies that the “Class Period” defined by Plaintiffs is a properly defined class period. Display lacks

15   sufficient knowledge or information to form a belief as to the truth of the allegations in the second

16   sentence of Paragraph 1, and therefore denies the allegations. Display admits that Plaintiffs define

17   certain terms in the third, fourth, and fifth sentences of Paragraph 1, but denies that these terms are

18   properly defined. Display denies the remaining allegations in Paragraph 1.

19          2.      Display lacks sufficient knowledge or information to form a belief as to the truth of

20   the allegations in Paragraph 2 of the Complaint and therefore denies the allegations.

21          3.      Display lacks knowledge or information sufficient to form a belief as to the truth of

22   the allegations contained in the first sentence of Paragraph 3 of the Complaint, and therefore denies

23   the allegations. The second sentence of Paragraph 3 contains characterizations, conclusions, and

24   legal argument to which no responsive pleading is required. To the extent that a response is required,

25   To the extent that a response is required, Display denies the allegations that are directed at Display.

26   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

27   allegations in Paragraph 3, and therefore denies the allegations.

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 1           4.      Display denies the allegations in Paragraph 4 of the Complaint that are directed at

 2   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 3   remaining allegations in Paragraph 4, and therefore denies the allegations.

 4           5.      Display denies the allegations in Paragraph 5 of the Complaint that are directed at

 5   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 6   remaining allegations in Paragraph 5, and therefore denies the allegations.

 7           6.      Display denies the allegations in Paragraph 6 of the Complaint that are directed at

 8   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 9   remaining allegations in Paragraph 6, and therefore denies the allegations.

10           7.      Display lacks sufficient knowledge or information to form a belief as to the truth of

11   the allegations in Paragraph 7 of the Complaint, and therefore denies the allegations.

12                                    II. JURISDICTION AND VENUE

13           8.      The allegations in Paragraph 8 of the Complaint contain characterizations,

14   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

15   response is required, Display denies the allegations contained in Paragraph 8 in their entirety, except

16   admits that Plaintiffs purport to bring this action pursuant to the statute identified therein and the

17   relief sought therein.

18           9.      The allegations in Paragraph 9 of the Complaint contain characterizations,

19   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

20   response is required, Display denies the allegations contained in Paragraph 9 in their entirety, except

21   admits that Plaintiffs purport to base jurisdiction on the statutes identified therein.

22           10.     The allegations in Paragraph 10 of the Complaint contain characterizations,

23   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

24   response is required, Display denies that it resides in this judicial district or is licensed to do business

25   in this judicial district. Display lacks sufficient knowledge or information to form a belief as to the

26   truth of the remaining allegations in Paragraph 10, and therefore denies the allegations.

27

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 1                                             III. PARTIES

 2          11.     Display lacks sufficient knowledge or information to form a belief as to the truth of

 3   the allegations in Paragraph 11 of the Complaint, and therefore denies the allegations.

 4          12.     Display lacks sufficient knowledge or information to form a belief as to the truth of

 5   the allegations in Paragraph 12 of the Complaint, and therefore denies the allegations.

 6          13.     Display lacks sufficient knowledge or information to form a belief as to the truth of

 7   the allegations in Paragraph 13 of the Complaint, and therefore denies the allegations.

 8          14.     Display lacks sufficient knowledge or information to form a belief as to the truth of

 9   the allegations in Paragraph 14 of the Complaint, and therefore denies the allegations.

10          15.     Display lacks sufficient knowledge or information to form a belief as to the truth of

11   the allegations in Paragraph 15 of the Complaint, and therefore denies the allegations.

12          16.     Display lacks sufficient knowledge or information to form a belief as to the truth of

13   the allegations in Paragraph 16 of the Complaint, and therefore denies the allegations.

14          17.     Display lacks sufficient knowledge or information to form a belief as to the truth of

15   the allegations in Paragraph 17 of the Complaint, and therefore denies the allegations.

16          18.     Display lacks sufficient knowledge or information to form a belief as to the truth of

17   the allegations in Paragraph 18 of the Complaint, and therefore denies the allegations.

18          19.     Display lacks sufficient knowledge or information to form a belief as to the truth of

19   the allegations in Paragraph 19 of the Complaint, and therefore denies the allegations.

20          20.     Display lacks sufficient knowledge or information to form a belief as to the truth of

21   the allegations in Paragraph 20 of the Complaint, and therefore denies the allegations.

22          21.     Display lacks sufficient knowledge or information to form a belief as to the truth of

23   the allegations in Paragraph 21 of the Complaint, and therefore denies the allegations.

24          22.     Display lacks sufficient knowledge or information to form a belief as to the truth of

25   the allegations in Paragraph 22 of the Complaint, and therefore denies the allegations.

26          23.     Display lacks sufficient knowledge or information to form a belief as to the truth of

27   the allegations in Paragraph 23 of the Complaint, and therefore denies the allegations.

28
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 1           24.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 2   the allegations in Paragraph 24 of the Complaint, and therefore denies the allegations.

 3           25.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 4   the allegations in Paragraph 25 of the Complaint, and therefore denies the allegations.

 5           26.    Paragraph 26 describes the terminology used in the Complaint, to which no response

 6   is required.

 7           27.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 8   the allegations in Paragraph 27 of the Complaint, and therefore denies the allegations.

 9           28.    Display lacks sufficient knowledge or information to form a belief as to the truth of

10   the allegations in Paragraph 28 of the Complaint, and therefore denies the allegations.

11           29.    Paragraph 29 describes the terminology used in the Complaint, to which no response

12   is required.

13           30.    Display lacks sufficient knowledge or information to form a belief as to the truth of

14   the allegations in Paragraph 30 of the Complaint, and therefore denies the allegations.

15           31.    Display lacks sufficient knowledge or information to form a belief as to the truth of

16   the allegations in Paragraph 31 of the Complaint, and therefore denies the allegations.

17           32.    Display lacks sufficient knowledge or information to form a belief as to the truth of

18   the allegations in Paragraph 32 of the Complaint, and therefore denies the allegations.

19           33.    Display lacks sufficient knowledge or information to form a belief as to the truth of

20   the allegations in Paragraph 33 of the Complaint, and therefore denies the allegations.

21           34.    Display lacks sufficient knowledge or information to form a belief as to the truth of

22   the allegations in Paragraph 34 of the Complaint, and therefore denies the allegations.

23           35.    Display lacks sufficient knowledge or information to form a belief as to the truth of

24   the allegations in Paragraph 35 of the Complaint, and therefore denies the allegations.

25           36.    Paragraph 36 describes the terminology used in the Complaint, to which no response

26   is required.

27           37.    Display admits that Irico Group Corp. (“Group”) is a Chinese entity with its

28   headquarters at the address in Xianyang, Shaanxi Province, People’s Republic of China listed in
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 1   Paragraph 37. Display also admits that it is a related entity to Group. Display denies any and all

 2   allegations in Paragraph 37 that Display manufactured, distributed, or sold finished products

 3   containing CRTs. Display also denies that Display manufactured, distributed, or sold color picture

 4   tubes, color display tubes, or finished products containing CRTs, directly or indirectly, to the United

 5   States. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 6   remaining allegations in Paragraph 37, and therefore denies the allegations.

 7           38.    Display admits that as of November 27, 2007, Irico Group Electronics Co., Ltd.

 8   (“Electronics”) was located at the address listed in the first sentence of Paragraph 38 of the

 9   Complaint. Display denies any and all allegations in Paragraph 38 that Display manufactured,

10   distributed, or sold finished products containing CRTs. Display also denies that Display

11   manufactured, distributed, or sold color picture tubes, color display tubes, or finished products

12   containing CRTs, directly or indirectly, to the United States. Display lacks sufficient knowledge or

13   information to form a belief as to the truth of the remaining allegations in Paragraph 38, and therefore

14   denies the allegations.

15           39.    Display admits that as of November 27, 2007, the allegations in the first sentence of

16   Paragraph 39 of the Complaint were correct. Regarding the second sentence of Paragraph 39,

17   Display admits that Group has an ownership interest in Display but denies the remaining allegations.

18   Display lacks sufficient knowledge or information to form a belief as to the truth of the allegations

19   in the third sentence of Paragraph 39, and therefore denies the allegations. Display denies the

20   allegations in the fourth and fifth sentences of Paragraph 39.

21           40.    Paragraph 40 describes the terminology used in the Complaint, to which no response

22   is required.

23           41.    Display lacks sufficient knowledge or information to form a belief as to the truth of

24   the allegations in Paragraph 41 of the Complaint, and therefore denies the allegations.

25           42.    Display lacks sufficient knowledge or information to form a belief as to the truth of

26   the allegations in Paragraph 42 of the Complaint, and therefore denies the allegations.

27           43.    Display lacks sufficient knowledge or information to form a belief as to the truth of

28   the allegations in Paragraph 43 of the Complaint, and therefore denies the allegations.
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 1           44.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 2   the allegations in Paragraph 44 of the Complaint, and therefore denies the allegations.

 3           45.    Paragraph 45 describes the terminology used in the Complaint, to which no response

 4   is required.

 5           46.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 6   the allegations in Paragraph 46 of the Complaint, and therefore denies the allegations.

 7           47.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 8   the allegations in Paragraph 47 of the Complaint, and therefore denies the allegations.

 9           48.    Display lacks sufficient knowledge or information to form a belief as to the truth of

10   the allegations in Paragraph 48 of the Complaint, and therefore denies the allegations.

11           49.    Display lacks sufficient knowledge or information to form a belief as to the truth of

12   the allegations in Paragraph 49 of the Complaint, and therefore denies the allegations.

13           50.    Paragraph 50 describes the terminology used in the Complaint, to which no response

14   is required.

15           51.    Display lacks sufficient knowledge or information to form a belief as to the truth of

16   the allegations in Paragraph 51 of the Complaint, and therefore denies the allegations.

17           52.    Display lacks sufficient knowledge or information to form a belief as to the truth of

18   the allegations in Paragraph 52 of the Complaint, and therefore denies the allegations.

19           53.    Display lacks sufficient knowledge or information to form a belief as to the truth of

20   the allegations in Paragraph 53 of the Complaint, and therefore denies the allegations.

21           54.    Display lacks sufficient knowledge or information to form a belief as to the truth of

22   the allegations in Paragraph 54 of the Complaint, and therefore denies the allegations.

23           55.    Display lacks sufficient knowledge or information to form a belief as to the truth of

24   the allegations in Paragraph 55 of the Complaint, and therefore denies the allegations.

25           56.    Display lacks sufficient knowledge or information to form a belief as to the truth of

26   the allegations in Paragraph 56 of the Complaint, and therefore denies the allegations.

27           57.    Paragraph 57 describes the terminology used in the Complaint, to which no response

28   is required.
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 1           58.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 2   the allegations in Paragraph 58 of the Complaint, and therefore denies the allegations.

 3           59.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 4   the allegations in Paragraph 59 of the Complaint, and therefore denies the allegations.

 5           60.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 6   the allegations in Paragraph 60 of the Complaint, and therefore denies the allegations.

 7           61.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 8   the allegations in Paragraph 61 of the Complaint, and therefore denies the allegations.

 9           62.    Display lacks sufficient knowledge or information to form a belief as to the truth of

10   the allegations in Paragraph 62 of the Complaint, and therefore denies the allegations.

11           63.    Display lacks sufficient knowledge or information to form a belief as to the truth of

12   the allegations in Paragraph 63 of the Complaint, and therefore denies the allegations.

13           64.    Display lacks sufficient knowledge or information to form a belief as to the truth of

14   the allegations in Paragraph 64 of the Complaint, and therefore denies the allegations.

15           65.    Display lacks sufficient knowledge or information to form a belief as to the truth of

16   the allegations in Paragraph 65 of the Complaint, and therefore denies the allegations.

17           66.    Display lacks sufficient knowledge or information to form a belief as to the truth of

18   the allegations in Paragraph 66 of the Complaint, and therefore denies the allegations.

19           67.    Paragraph 67 describes the terminology used in the Complaint, to which no response

20   is required.

21           68.    Display lacks sufficient knowledge or information to form a belief as to the truth of

22   the allegations in Paragraph 68 of the Complaint, and therefore denies the allegations.

23           69.    Display lacks sufficient knowledge or information to form a belief as to the truth of

24   the allegations in Paragraph 69 of the Complaint, and therefore denies the allegations.

25           70     Display lacks sufficient knowledge or information to form a belief as to the truth of

26   the allegations in Paragraph 70 of the Complaint, and therefore denies the allegations.

27           71.    Display lacks sufficient knowledge or information to form a belief as to the truth of

28   the allegations in Paragraph 71 of the Complaint, and therefore denies the allegations.
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 1           72.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 2   the allegations in Paragraph 72 of the Complaint, and therefore denies the allegations.

 3           73.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 4   the allegations in Paragraph 73 of the Complaint, and therefore denies the allegations.

 5           74.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 6   the allegations in Paragraph 74 of the Complaint, and therefore denies the allegations.

 7           75.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 8   the allegations in Paragraph 75 of the Complaint, and therefore denies the allegations.

 9           76.    Display lacks sufficient knowledge or information to form a belief as to the truth of

10   the allegations in Paragraph 76 of the Complaint, and therefore denies the allegations.

11           77.    Display lacks sufficient knowledge or information to form a belief as to the truth of

12   the allegations in Paragraph 77 of the Complaint, and therefore denies the allegations.

13           78.    Paragraph 78 describes the terminology used in the Complaint, to which no response

14   is required.

15           79.    Display lacks sufficient knowledge or information to form a belief as to the truth of

16   the allegations in Paragraph 79 of the Complaint, and therefore denies the allegations.

17           80.    Display lacks sufficient knowledge or information to form a belief as to the truth of

18   the allegations in Paragraph 80 of the Complaint, and therefore denies the allegations.

19                              IV. AGENTS AND CO-CONSPIRATORS

20           81.    The allegations in Paragraph 81 of the Complaint contain characterizations,

21   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

22   response is required, Display lacks sufficient knowledge or information to form a belief as to the

23   truth of the allegations in Paragraph 81, and therefore denies the allegations.

24           82.    The allegations in Paragraph 82 of the Complaint constitute characterizations of the

25   allegations of Plaintiffs’ Complaint to which no responsive pleading is required.

26           83.    The allegations in Paragraph 83 of the Complaint contain characterizations,

27   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

28   response is required, Display denies the allegations in Paragraph 83 that are directed at Display.
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 1   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 2   allegations in Paragraph 83, and therefore denies the allegations.

 3          84.     The allegations in Paragraph 84 of the Complaint contain characterizations,

 4   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 5   response is required, Display denies the allegations in Paragraph 84 that are directed at Display.

 6   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 7   allegations in Paragraph 84, and therefore denies the allegations.

 8                                 V. CLASS ACTION ALLEGATIONS

 9          85.     The allegations in Paragraph 85 of the Complaint contain characterizations,

10   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

11   response is required, Display admits that Plaintiffs purport to bring this action pursuant to the

12   provisions of Rule 23 of the Federal Rules of Civil Procedure but denies that this action is appropriate

13   under Rule 23. Display further denies that the “Class Period” defined by Plaintiffs is a properly

14   defined class period. Display lacks sufficient knowledge or information to form a belief as to the

15   truth of the remaining allegations in Paragraph 85, and therefore denies the allegations.

16          86.     The allegations in Paragraph 86 of the Complaint contain characterizations,

17   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

18   response is required, Display denies that this action is appropriate under Rule 23 of the Federal Rules

19   of Civil Procedure. Display lacks sufficient knowledge or information to form a belief as to the truth

20   of the remaining allegations and therefore denies the allegations.

21          87.     The allegations in Paragraph 87 of the Complaint contain characterizations,

22   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

23   response is required, Display lacks sufficient knowledge or information to form a belief as to the

24   truth of the allegations and therefore denies the allegations.

25          88.     The allegations in Paragraph 88 of the Complaint contain characterizations,

26   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

27   response is required, Display denies the allegations.

28
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 1          89      The allegations in Paragraph 89 of the Complaint contain characterizations,

 2   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 3   response is required, Display lacks sufficient knowledge or information to form a belief as to the

 4   truth of the allegations and therefore denies the allegations.

 5          90.     The allegations in Paragraph 90 of the Complaint contain characterizations,

 6   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 7   response is required, Display denies the allegations.

 8          91.     The allegations in Paragraph 91 of the Complaint contain characterizations,

 9   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

10   response is required, Display denies the allegations.

11          92.     The allegations in Paragraph 92 of the Complaint contain characterizations,

12   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

13   response is required, Display lacks sufficient knowledge or information to form a belief as to the

14   truth of the allegations and therefore denies the allegations.

15          93.     The allegations in Paragraph 93 of the Complaint contain characterizations,

16   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

17   response is required, Display denies the allegations.

18          94.     The allegations in Paragraph 94 of the Complaint contain characterizations,

19   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

20   response is required, Display denies the allegations.

21          95.     The allegations in Paragraph 95 of the Complaint contain characterizations,

22   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

23   response is required, Display lacks sufficient knowledge or information to form a belief as to the

24   truth of the allegations and therefore denies the allegations.

25                                    VI. TRADE AND COMMERCE

26          96.     The allegations in Paragraph 96 of the Complaint contain characterizations,

27   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

28   response is required, Display denies the allegations in Paragraph 96 that are directed at Display.
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 1   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 2   allegations in Paragraph 96, and therefore denies the allegations.

 3          97.     The allegations in Paragraph 97 of the Complaint contain characterizations,

 4   conclusions, and legal argument to which no responsive pleading is required. Display denies the

 5   allegations in Paragraph 97 of the Complaint that are directed at Display. Display lacks sufficient

 6   knowledge or information to form a belief as to the truth of the remaining allegations in Paragraph

 7   97, and therefore denies the allegations.

 8          98.     The allegations in Paragraph 98 of the Complaint contain characterizations,

 9   conclusions and legal argument to which no responsive pleading is required. To the extent that a

10   response is required, Display denies the allegations in Paragraph 98 that are directed at Display.

11   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

12   allegations in Paragraph 96, and therefore denies the allegations.

13                                   VII. FACTUAL ALLEGATIONS

14          99.     Display admits that the allegations in Paragraph 99 of the Complaint generally

15   describe CRT technology but denies that these descriptions are accurate or complete.

16          100.    Display admits that the allegations in Paragraph 100 of the Complaint generally

17   describe CRT technology but denies that these descriptions are accurate or complete.

18          101.    Display admits that the allegations in Paragraph 101 of the Complaint generally

19   describe CRT technology but denies that these descriptions are accurate or complete.

20          102.    Display admits that the allegations in Paragraph 102 of the Complaint generally

21   describe CRT technology but denies that these descriptions are accurate or complete.

22          103.    Display admits that the allegations in Paragraph 103 of the Complaint generally

23   describe CRT technology but denies that these descriptions are accurate or complete.

24          104.    The allegations in Paragraph 104 of the Complaint contain characterizations,

25   conclusions, and legal argument to which no responsive pleading is required. To the extent a

26   response is required, Display lacks sufficient knowledge or information to form a belief as to the

27   truth of the allegations in the first two sentences in Paragraph 104, and therefore denies the

28   allegations. The third sentence purports to quote or describe reports from Stanford Resources, Inc.
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 1   Display states that the original reports are the best source for their full content and context. To the

 2   extent a response is required, Display lacks sufficient knowledge or information to form a belief as

 3   to the truth of the allegations and therefore denies the allegations.

 4          105.    Display admits that the allegations in Paragraph 105 of the Complaint generally

 5   describe CRT technology but denies that these descriptions are accurate or complete.

 6          106.    The allegations in Paragraph 106 of the Complaint contain characterizations,

 7   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 8   response is required, Display denies the allegations in Paragraph 106 that are directed at Display.

 9   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

10   allegations in Paragraph 106, and therefore denies the allegations.

11          107.    The allegations in Paragraph 107 of the Complaint contain characterizations,

12   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

13   response is required, Display denies the allegations in Paragraph 107 that are directed at Display.

14   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

15   allegations in Paragraph 107, and therefore denies the allegations.

16          108.    Display lacks sufficient knowledge or information to form a belief as to the truth of

17   the allegations in the first two sentences of Paragraph 108 of the Complaint, and therefore denies the

18   allegations. The third sentence purports to quote or describe reports from iSuppli Corp. Display

19   states that the original reports are the best source for their full content and context. To the extent a

20   response is required, Display lacks sufficient knowledge or information to form a belief as to the

21   truth of the allegations and therefore denies the allegations.

22          109.    The allegations in Paragraph 109 of the Complaint purport to quote or describe

23   reports from iSuppli Corp. Display states that the original reports are the best source for their full

24   content and context. To the extent a response is required, Display lacks sufficient knowledge or

25   information to form a belief as to the truth of the allegations and therefore denies the allegations.

26          110.    The allegations in the first, fourth, and fifth sentences of Paragraph 110 of the

27   Complaint contain characterizations and conclusions to which no responsive pleading is required.

28   To the extent that a response is required, Display denies the allegations contained in the first sentence
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 1   of Paragraph 110. Display lacks sufficient knowledge or information to form a belief as to the truth

 2   of the allegations in the fourth and fifth sentences of Paragraph 110, and therefore denies the

 3   allegations. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 4   allegations in the second and third sentences of Paragraph 110, and therefore denies the allegations.

 5   The allegations in the sixth sentence of Paragraph 110 purport to quote or describe a report from

 6   DisplaySearch Inc. Display states that the original report is the best source for its full content and

 7   context. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 8   allegations in the sixth sentence of Paragraph 110, and therefore denies the allegations.

 9          111.    The allegations in the first sentence of Paragraph 111 purport to quote or describe a

10   report from DisplaySearch Inc. Display states that the original report is the best source for its full

11   content and context. Display lacks sufficient knowledge or information to form a belief as to the

12   truth of the allegations in the first sentence of Paragraph 111, and therefore denies the allegations.

13   The allegations in the second sentence of Paragraph 111 contain characterizations, conclusions and

14   legal argument to which no responsive pleading is required. To the extent that a response is required,

15   Display denies the allegations that are directed at Display. Display lacks sufficient knowledge or

16   information to form a belief as to the truth of the remaining allegations, and therefore denies the

17   allegations.

18          112.    The allegations in Paragraph 112 of the Complaint contain characterizations,

19   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

20   response is required, Display denies the allegations in Paragraph 112 that are directed at Display.

21   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

22   allegations in Paragraph 112, and therefore denies the allegations.

23          113.    Display denies the allegations in Paragraph 113 of the Complaint that are directed at

24   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

25   remaining allegations in Paragraph 113, and therefore denies the allegations.

26          114.    The allegations in Paragraph 114 of the Complaint contain characterizations,

27   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

28   response is required, Display denies the allegations in Paragraph 114 that are directed at Display.
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 1   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 2   allegations in Paragraph 114, and therefore denies the allegations.

 3          115.    The allegations in Paragraph 115 of the Complaint contain characterizations,

 4   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 5   response is required, Display denies the allegations in Paragraph 115 that are directed at Display.

 6   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 7   allegations in Paragraph 115, and therefore denies the allegations.

 8          116.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 9   the allegations in Paragraph 116 of the Complaint, and therefore denies the allegations.

10          117.    To the extent the allegations in Paragraph 117 of the Complaint purport to refer to

11   Display, Display denies the allegations. Display lacks sufficient knowledge or information to form

12   a belief as to the truth of the remaining allegations in Paragraph 117, and therefore denies the

13   allegations.

14          118.    Display lacks sufficient knowledge or information to form a belief as to the truth of

15   the allegations in Paragraph 118 of the Complaint, and therefore denies the allegations.

16          119.    Display lacks sufficient knowledge or information to form a belief as to the truth of

17   the allegations in Paragraph 119 of the Complaint, and therefore denies the allegations.

18          120.    Display lacks sufficient knowledge or information to form a belief as to the truth of

19   the allegations in Paragraph 120 of the Complaint, and therefore denies the allegations.

20          121.    Display lacks sufficient knowledge or information to form a belief as to the truth of

21   the allegations in Paragraph 121 of the Complaint, and therefore denies the allegations.

22          122.    Display lacks sufficient knowledge or information to form a belief as to the truth of

23   the allegations in Paragraph 122, and therefore denies the allegations.

24          123.    Display lacks sufficient knowledge or information to form a belief as to the truth of

25   the allegations in Paragraph 123 of the Complaint, and therefore denies the allegations.

26          124.    The first, second, third, fourth, fifth and eighth sentences of Paragraph 124 of the

27   Complaint purport to quote or describe statements by regulatory authorities. Display states that the

28   original statements are the best source for their full context and content. The allegations in the sixth
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 1   and seventh sentences contain characterizations, conclusions, and legal argument to which no

 2   responsive pleading is required. To the extent a response is required, Display lacks sufficient

 3   knowledge or information to form a belief as to the truth of the allegations in Paragraph 124, and

 4   therefore denies the allegations.

 5          125.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 6   the allegations in Paragraph 125 of the Complaint, and therefore denies the allegations.

 7          126.    The allegations in Paragraph 126 purport to quote or describe an announcement from

 8   the Department of Justice. Display states that the original announcement is the best source for its

 9   full content and context. To the extent a response is required, Display lacks sufficient knowledge or

10   information to form a belief as to the truth of the allegations and therefore denies the allegations.

11          127.    Display lacks sufficient knowledge or information to form a belief as to the truth of

12   the allegations in Paragraph 127 of the Complaint, and therefore denies the allegations.

13          128.    The allegations in Paragraph 128 purport to quote or describe an announcement from

14   the European Commission. Display states that the original announcement is the best source for its

15   full content and context. To the extent a response is required, Display lacks sufficient knowledge or

16   information to form a belief as to the truth of the allegations and therefore denies the allegations.

17          129.    The allegations in Paragraph 129 of the Complaint purport to quote or describe

18   announcements from certain defendants. Display states that the original announcements are the best

19   source for their full content and context. To the extent a response is required, Display lacks sufficient

20   knowledge or information to form a belief as to the truth of the allegations in Paragraph 129, and

21   therefore denies the allegations.

22          130.    The allegations in Paragraph 130 of the Complaint purport to quote or describe

23   statements from a defendant. Display states that the original statements are the best source for their

24   full content and context. Display lacks sufficient knowledge or information to form a belief as to the

25   truth of the allegations in Paragraph 130, and therefore denies the allegations.

26          131.    The allegations in Paragraph 131 of the Complaint purport to quote or describe

27   statements from a defendant. Display states that the original statements are the best source for their

28
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 1   full content and context. Display lacks sufficient knowledge or information to form a belief as to the

 2   truth of the allegations in Paragraph 131, and therefore denies the allegations.

 3          132.    The allegations in Paragraph 132 of the Complaint purport to quote or describe an

 4   article from the International Herald Tribune. Display states that the original article is the best source

 5   for its full content and context. Display lacks sufficient knowledge or information to form a belief

 6   as to the truth of the allegations in Paragraph 132, and therefore denies the allegations.

 7          133.    The allegations in Paragraph 133 of the Complaint purport to quote or describe an

 8   announcement from the Hungarian Competition Authority. Display states that the original

 9   announcement is the best source for its full content and context. To the extent a response is required,

10   Display lacks sufficient knowledge or information to form a belief as to the truth of the allegations

11   and therefore denies the allegations.

12          134.    Display denies the allegations in Paragraph 134 of the Complaint that are directed at

13   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

14   remaining allegations in Paragraph 134, and therefore denies the allegations.

15          135.    Display denies the allegations in Paragraph 135 of the Complaint that are directed at

16   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

17   remaining allegations in Paragraph 135 and therefore denies the allegations.

18          136.    Display denies the allegations in Paragraph 136 of the Complaint that are directed at

19   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

20   remaining allegations in Paragraph 136, and therefore denies the allegations.

21          137.    Display denies the allegations in Paragraph 137 of the Complaint that are directed at

22   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

23   remaining allegations in Paragraph 137, and therefore denies the allegations.

24          138.    The allegations in Paragraph 138 of the Complaint contain characterizations,

25   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

26   response is required, Display denies the allegations in Paragraph 138 that are directed at Display.

27   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

28   allegations in Paragraph 138, and therefore denies the allegations.
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 1          139.    The allegations in Paragraph 139 of the Complaint contain characterizations,

 2   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 3   response is required, Display denies the allegations in Paragraph 139 that are directed at Display.

 4   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 5   allegations in Paragraph 139, and therefore denies the allegations.

 6          140.    The allegations in Paragraph 140 of the Complaint contain characterizations,

 7   conclusions, and legal argument to which no responsive pleading is required. Display denies the

 8   allegations in Paragraph 140 that are directed at Display. Display lacks sufficient knowledge or

 9   information to form a belief as to the truth of the remaining allegations in Paragraph 140, and

10   therefore denies the allegations.

11          141.    The allegations in Paragraph 141 of the Complaint, including all subparts, contain

12   characterizations, conclusions, and legal argument to which no responsive pleading is required. To

13   the extent a response is required, Display denies the allegations in Paragraph 141 of the Complaint

14   that are directed at Display. Display lacks sufficient knowledge or information to form a belief as to

15   the truth of the remaining allegations in Paragraph 141, and therefore denies the allegations.

16          142.    Display denies the allegations in Paragraph 142 that are directed at Display. Display

17   lacks sufficient knowledge or information to form a belief as to the truth of the remaining allegations

18   in Paragraph 142, and therefore denies the allegations.

19          143.    Display denies the allegations in Paragraph 143 of the Complaint that are directed at

20   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

21   remaining allegations in Paragraph 143, and therefore denies the allegations.

22          144.    The allegations in Paragraph 144 of the Complaint, including all subparts, contain

23   characterizations, conclusions, and legal argument to which no responsive pleading is required. To

24   the extent a response is required, Display denies the allegations in Paragraph 144 that are directed at

25   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

26   remaining allegations in Paragraph 144, and therefore denies the allegations.

27          145.    The allegations in Paragraph 145 of the Complaint, including all subparts, contain

28   characterizations, conclusions, and legal argument to which no responsive pleading is required. To
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 1   the extent a response is required, Display denies the allegations in Paragraph 145 that are directed at

 2   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 3   remaining allegations in Paragraph 145, and therefore denies the allegations.

 4          146.    The allegations in Paragraph 146 of the Complaint, including all subparts, contain

 5   characterizations, conclusions, and legal argument to which no responsive pleading is required. To

 6   the extent a response is required, Display denies the allegations in Paragraph 146 that are directed at

 7   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 8   remaining allegations in Paragraph 146, and therefore denies the allegations.

 9          147.    The allegations in Paragraph 147 of the Complaint, including all subparts, contain

10   characterizations, conclusions, and legal argument to which no responsive pleading is required. To

11   the extent a response is required, Display denies the allegations in Paragraph 147 that are directed at

12   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

13   remaining allegations in Paragraph 147, and therefore denies the allegations.

14          148.    The allegations in Paragraph 148 of the Complaint, including all subparts, contain

15   characterizations, conclusions, and legal argument to which no responsive pleading is required. To

16   the extent a response is required, Display denies the allegations in Paragraph 148 that are directed at

17   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

18   remaining allegations in Paragraph 148, and therefore denies the allegations.

19          149.    Display denies the allegations in Paragraph 149 of the Complaint that are directed at

20   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

21   remaining allegations in Paragraph 149, and therefore denies the allegations.

22          150.    Display denies the allegations in Paragraph 150 of the Complaint that are directed at

23   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

24   remaining allegations in Paragraph 150, and therefore denies the allegations.

25          151.    The allegations in Paragraph 151 of the Complaint, including all subparts, contain

26   characterizations, conclusions, and legal argument to which no responsive pleading is required. To

27   the extent a response is required, Display denies the allegations in Paragraph 151 that are directed at

28
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 1   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 2   remaining allegations in Paragraph 151, and therefore denies the allegations.

 3          152.    The allegations in Paragraph 152 of the Complaint, including all subparts, contain

 4   characterizations, conclusions, and legal argument to which no responsive pleading is required. To

 5   the extent a response is required, Display denies the allegations in Paragraph 152 that are directed at

 6   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 7   remaining allegations in Paragraph 152, and therefore denies the allegations.

 8          153.    The allegations in Paragraph 153 of the Complaint, including all subparts, contain

 9   characterizations, conclusions, and legal argument to which no responsive pleading is required. To

10   the extent a response is required, Display denies the allegations in Paragraph 153 that are directed at

11   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

12   remaining allegations in Paragraph 153, and therefore denies the allegations.

13          154.    The allegations in Paragraph 154 of the Complaint contain characterizations,

14   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

15   response is required, Display denies the allegations in Paragraph 154 that are directed at Display.

16   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

17   allegations in Paragraph 154, and therefore denies the allegations.

18          155.    The allegations in Paragraph 155 of the Complaint contain characterizations,

19   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

20   response is required, Display denies the allegations in Paragraph 155 that are directed at Display.

21   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

22   allegations in Paragraph 155, and therefore denies the allegations.

23          156.    The allegations in Paragraph 156 of the Complaint contain characterizations,

24   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

25   response is required, Display denies the allegations in Paragraph 156 that are directed at Display.

26   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

27   allegations in Paragraph 156, and therefore denies the allegations.

28
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 1          157.    The allegations in Paragraph 157 of the Complaint contain characterizations,

 2   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 3   response is required, Display denies the allegations in Paragraph 157 that are directed at Display.

 4   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 5   allegations in Paragraph 157, and therefore denies the allegations.

 6          158.    The allegations in Paragraph 158 of the Complaint contain characterizations,

 7   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 8   response is required, Display denies the allegations in Paragraph 158 that are directed at Display.

 9   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

10   allegations in Paragraph 158, and therefore denies the allegations.

11          159.    The allegations in Paragraph 159 of the Complaint contain characterizations,

12   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

13   response is required, Display denies the allegations in Paragraph 159 that are directed at Display.

14   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

15   allegations in Paragraph 159, and therefore denies the allegations.

16          160.    The allegations in Paragraph 160 of the Complaint contain characterizations,

17   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

18   response is required, Display denies the allegations in Paragraph 160 that are directed at Display.

19   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

20   allegations in Paragraph 160, and therefore denies the allegations.

21          161.    The allegations in Paragraph 161 of the Complaint contain characterizations,

22   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

23   response is required, Display denies the allegations in Paragraph 161 that are directed at Display.

24   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

25   allegations in Paragraph 161, and therefore denies the allegations.

26          162.    The allegations in Paragraph 162 of the Complaint contain characterizations,

27   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

28   response is required, Display denies the allegations in Paragraph 162 that are directed at Display.
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 1   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 2   allegations in Paragraph 162, and therefore denies the allegations.

 3          163.    The allegations in Paragraph 163 of the Complaint contain characterizations,

 4   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 5   response is required, Display denies the allegations in Paragraph 163 that are directed at Display.

 6   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 7   allegations in Paragraph 163, and therefore denies the allegations.

 8          164.    The allegations in Paragraph 164 of the Complaint contain characterizations,

 9   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

10   response is required, Display denies the allegations in Paragraph 164 that are directed at Display.

11   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

12   allegations in Paragraph 164, and therefore denies the allegations.

13          165.    The allegations in Paragraph 165 of the Complaint contain characterizations,

14   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

15   response is required, Display denies the allegations in Paragraph 165 that are directed at Display.

16   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

17   allegations in Paragraph 165, and therefore denies the allegations.

18          166.    The allegations in Paragraph 166 of the Complaint contain characterizations,

19   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

20   response is required, Display denies the allegations in Paragraph 166 that are directed at Display.

21   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

22   allegations in Paragraph 166, and therefore denies the allegations.

23          167.    The allegations in Paragraph 167 of the Complaint contain characterizations,

24   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

25   response is required, Display denies the allegations in Paragraph 167 that are directed at Display.

26   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

27   allegations in Paragraph 167, and therefore denies the allegations.

28
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 1          168.    The allegations in Paragraph 168 of the Complaint contain characterizations,

 2   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 3   response is required, Display denies the allegations in Paragraph 168 that are directed at Display.

 4   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 5   allegations in Paragraph 168, and therefore denies the allegations.

 6          169.    The allegations in Paragraph 169 of the Complaint contain characterizations,

 7   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 8   response is required, Display denies the allegations in Paragraph 169 that are directed at Display.

 9   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

10   allegations in Paragraph 169, and therefore denies the allegations.

11          170.    The allegations in Paragraph 170 of the Complaint contain characterizations,

12   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

13   response is required, Display denies the allegations in Paragraph 170 that are directed at Display.

14   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

15   allegations in Paragraph 170, and therefore denies the allegations.

16          171.    The allegations in Paragraph 171 of the Complaint contain characterizations,

17   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

18   response is required, Display denies the allegations in Paragraph 171 that are directed at Display.

19   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

20   allegations in Paragraph 171, and therefore denies the allegations.

21          172.    The allegations in Paragraph 172 of the Complaint contain characterizations,

22   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

23   response is required, Display denies the allegations in Paragraph 172 that are directed at Display.

24   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

25   allegations in Paragraph 172, and therefore denies the allegations.

26          173.    The allegations in Paragraph 173 of the Complaint contain characterizations,

27   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

28   response is required, Display denies the allegations in Paragraph 173 that are directed at Display.
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 1   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 2   allegations in Paragraph 173, and therefore denies the allegations.

 3          174.    The allegations in Paragraph 174 of the Complaint contain characterizations,

 4   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 5   response is required, Display denies the allegations in Paragraph 174 that are directed at Display.

 6   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 7   allegations in Paragraph 174, and therefore denies the allegations.

 8          175.    The allegations in Paragraph 175 of the Complaint contain characterizations,

 9   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

10   response is required, Display denies the allegations in Paragraph 175 that are directed at Display.

11   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

12   allegations in Paragraph 175, and therefore denies the allegations.

13          176.    Display denies the allegations in Paragraph 176 of the Complaint that are directed at

14   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

15   remaining allegations in Paragraph 176, and therefore denies the allegations.

16          177.    Display lacks sufficient knowledge or information to form a belief as to the truth of

17   the allegations in Paragraph 177, of the Complaint and therefore denies the allegations.

18          178.    Display denies the allegations in Paragraph 178 of the Complaint that are directed at

19   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

20   remaining allegations in Paragraph 178, and therefore denies the allegations.

21          179.    The allegations in Paragraph 179 of the Complaint contain characterizations,

22   conclusions, and legal argument to which no responsive pleading is required. To the extent a

23   response is required, Display denies the allegations in Paragraph 179 that are directed at Display.

24   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

25   allegations in Paragraph 179, and therefore denies the allegations.

26          180.    The allegations in Paragraph 180 of the Complaint contain characterizations,

27   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

28   response is required, Display denies the allegations in Paragraph 180 that are directed at Display.
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 1   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 2   allegations in Paragraph 180, and therefore denies the allegations.

 3          181.    Display denies the allegations in Paragraph 181 of the Complaint that are directed at

 4   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 5   remaining allegations in Paragraph 181, and therefore denies the allegations.

 6          182.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 7   the allegations in Paragraph 182 of the Complaint, and therefore denies the allegations.

 8          183.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 9   the allegations in the first sentence of Paragraph 183 of the Complaint, and therefore denies the

10   allegations. The second and third sentences purport to quote or describe statements by another

11   defendant. Display states that the original statements are the best source for their full content and

12   context. To the extent a response is required, Display lacks sufficient knowledge or information to

13   form a belief as to the truth of the remaining allegations in Paragraph 183, and therefore denies the

14   allegations.

15          184.    The allegations in Paragraph 184 of the Complaint purport to quote or describe

16   statements by another defendant. Display states that the original statements are the best source for

17   their full content and context. To the extent a response is required, Display lacks sufficient

18   knowledge or information to form a belief as to the truth of the allegations in Paragraph 184, and

19   therefore denies the allegations.

20          185.    Display lacks sufficient knowledge or information to form a belief as to the truth of

21   the allegations in Paragraph 185 of the Complaint, and therefore denies the allegations.

22          186.    Display lacks sufficient knowledge or information to form a belief as to the truth of

23   the allegations in Paragraph 186 of the Complaint, and therefore denies the allegations.

24          187.    Display lacks sufficient knowledge or information to form a belief as to the truth of

25   the allegations in the first sentence of Paragraph 187 of the Complaint, and therefore denies the

26   allegations. The second sentence of Paragraph 187 purports to quote or describe statements by

27   another defendant. Display states that the original statements are the best source for their full content

28   and context. To the extent a response is required, Display lacks sufficient knowledge or information
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 1   to form a belief as to the truth of the remaining allegations in Paragraph 187, and therefore denies

 2   the allegations.

 3          188.    The allegations in Paragraph 188 of the Complaint contain characterizations,

 4   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 5   response is required, Display denies the allegations in the first and fourth sentences of Paragraph

 6   188 that are directed at Display. Display lacks sufficient information to form a belief as to the truth

 7   of the remaining allegations in the first and fourth sentences, and therefore denies the allegations.

 8   The second and third sentences purport to quote or describe analyst reports. Display states that the

 9   original reports are the best source for their full content and context. To the extent a response is

10   required, Display lacks sufficient knowledge or information to form a belief as to the truth of the

11   remaining allegations in Paragraph 188, and therefore denies the allegations.

12          189.    Paragraph 189 of the Complaint purports to quote or describe statements from an

13   unnamed industry source. Display states that the original statements are the best source for their full

14   content and context. Display lacks sufficient knowledge or information to form a belief as to the

15   truth of the allegations in Paragraph 189, and therefore denies the allegations.

16          190.    Display lacks sufficient knowledge or information to form a belief as to the truth of

17   the allegations in Paragraph 190 of the Complaint, and therefore denies the allegations.

18          191.    The allegations in Paragraph 191 of the Complaint contain characterizations,

19   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

20   response is required, Display denies the allegations in the third sentence of Paragraph 191 that are

21   directed at Display. The first and second sentences purport to quote or describe statements from a

22   CNET News.com article. Display states that the original article is the best source for their full content

23   and context. To the extent a response is required, Display lacks sufficient knowledge or information

24   to form a belief as to the truth of the remaining allegations in Paragraph 191, and therefore denies

25   the allegations.

26          192.    The second sentence of Paragraph 192 of the Complaint purports to quote or describe

27   statements from a keynote speaker at an annual conference. Display states that the original

28   statements are the best source for their full content and context. Display lacks sufficient knowledge
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 1   or information to form a belief as to the truth of the allegations in Paragraph 192, and therefore

 2   denies the allegations.

 3          193.    Display lacks sufficient knowledge or information to form a belief as to the truth of

 4   the allegations in the first and second sentences of Paragraph 193 of the Complaint, and therefore

 5   denies the allegations. The third sentence of Paragraph 193 contains characterizations, conclusions,

 6   and legal argument to which no responsive pleading is required. To the extent a response is required,

 7   Display denies the allegations that are directed at Display. Display lacks sufficient knowledge or

 8   information to form a belief as to the truth of the remaining allegations in Paragraph 193, and

 9   therefore denies the allegations.

10          194.    Paragraph 194 of the Complaint purports to quote or describe statements from an

11   unnamed article. Display states that the original article is the best source for their full content and

12   context. To the extent a response is required, Display lacks sufficient knowledge or information to

13   form a belief as to the truth of the allegations in Paragraph 194, and therefore denies the allegations.

14          195.    Display lacks sufficient knowledge or information to form a belief as to the truth of

15   the allegations in Paragraph 195 of the Complaint, and therefore denies the allegations.

16          196.    The allegations in Paragraph 196 of the Complaint contain characterizations,

17   conclusions, and legal argument to which no responsive pleading is required. The third sentence

18   purports to quote or describe statements from a television maker. Display states that the original

19   statements are the best source for their full content and context. To the extent that a response is

20   required, Display denies the allegations in Paragraph 196 that are directed at Display. Display lacks

21   sufficient knowledge or information to form a belief as to the truth of the remaining allegations in

22   Paragraph 196, and therefore denies the allegations.

23          197.    The allegations in Paragraph 197 of the Complaint contain characterizations,

24   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

25   response is required, Display denies the allegations in Paragraph 197 that are directed at Display.

26   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

27   allegations in Paragraph 197, and therefore denies the allegations.

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 1          198.    The allegations in Paragraph 198 of the Complaint contain characterizations,

 2   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 3   response is required, Display denies all allegations in Paragraph 198, including as to each subpart.

 4          199.    The allegations in Paragraph 199 of the Complaint contain characterizations,

 5   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 6   response is required, Display denies all allegations in Paragraph 199.

 7          200.    The allegations in Paragraph 200 of the Complaint contain characterizations,

 8   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 9   response is required, Display denies the allegations in Paragraph 200 that are directed at Display.

10   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

11   allegations in Paragraph 200, and therefore denies the allegations.

12          201.    The allegations in Paragraph 201 of the Complaint contain characterizations,

13   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

14   response is required, Display denies the allegations in Paragraph 201 that are directed at Display.

15   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

16   allegations in Paragraph 201, and therefore denies the allegations.

17          202.    The allegations in Paragraph 202 of the Complaint contain characterizations,

18   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

19   response is required, Display denies the allegations in Paragraph 202 that are directed at Display.

20   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

21   allegations in Paragraph 202, and therefore denies the allegations.

22          203.    The allegations in Paragraph 203 of the Complaint contain characterizations,

23   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

24   response is required, Display denies the allegations in Paragraph 203 that are directed at Display.

25   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

26   allegations in Paragraph 203, and therefore denies the allegations.

27          204.    The allegations in Paragraph 204 of the Complaint contain characterizations,

28   conclusions, and legal argument to which no responsive pleading is required. To the extent that a
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 1   response is required, Display denies the allegations in Paragraph 204 that are directed at Display.

 2   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

 3   allegations in Paragraph 204, and therefore denies the allegations.

 4          205.    Display denies the allegations in Paragraph 205 of the Complaint that are directed at

 5   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 6   remaining allegations in Paragraph 205, and therefore denies the allegations.

 7          206.    Display denies the allegations in Paragraph 206 of the Complaint that are directed at

 8   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 9   remaining allegations in Paragraph 206, and therefore denies the allegations.

10          207.    Display lacks sufficient knowledge or information to form a belief as to the truth of

11   the allegations in the first and second sentences of Paragraph 207 of the Complaint, and therefore

12   denies the allegations. Display denies the allegations in the third sentence of Paragraph 207 that are

13   directed at Display. Display lacks sufficient knowledge or information to form a belief as to the truth

14   of the remaining allegations in the third sentence of Paragraph 207, and therefore denies the

15   allegations.

16          208.    Display lacks sufficient knowledge or information to form a belief as to the truth of

17   the allegations in the first and second sentences of Paragraph 208 of the Complaint, and therefore

18   denies the allegations. Display denies the allegations in the third sentence of Paragraph 208 that are

19   directed at Display. Display lacks sufficient knowledge or information to form a belief as to the truth

20   of the remaining allegations in the third sentence of Paragraph 208, and therefore denies the

21   allegations.

22          209.    The third sentence of Paragraph 209 of the Complaint purports to quote or describe

23   statements from a Deputy General Manager for an LG Electronics distributor. Display states that the

24   original statements are the best source for their full content and context. Display denies the

25   allegations of Paragraph 209 that are directed at Display. Display lacks sufficient knowledge or

26   information to form a belief as to the truth of the remaining allegations of Paragraph 209, and

27   therefore denies the allegations.

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 1          210.    Display denies the allegations in Paragraph 210 of the Complaint that are directed at

 2   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 3   remaining allegations in Paragraph 210, and therefore denies the allegations.

 4          211.    Display denies the allegations in Paragraph 211 of the Complaint that are directed at

 5   Display. Display lacks sufficient knowledge or information to form a belief as to the truth of the

 6   remaining allegations in Paragraph 211, and therefore denies the allegations.

 7          212.    The allegations in Paragraph 212 of the Complaint contain characterizations,

 8   conclusions, and legal argument to which no responsive pleading is required. To the extent that a

 9   response is required, Display denies the allegations in Paragraph 212 that are directed at Display.

10   Display lacks sufficient knowledge or information to form a belief as to the truth of the remaining

11   allegations in Paragraph 212, and therefore denies the allegations.

12                         VIII. CLAIM FOR VIOLATIONS OF 15 U.S.C. § 1

13          213.    Display repeats and incorporates by reference its responses to Paragraphs 1 through

14   212 of the Complaint as if fully set forth herein.

15          214.    The allegations in Paragraph 214 of the Complaint contain legal contentions and/or

16   conclusions to which no response is required. To the extent that a response is required, Display

17   denies all allegations in Paragraph 214 that are directed at Display. Display lacks sufficient

18   knowledge or information to form a belief as to the truth of the remaining allegations in Paragraph

19   214, and therefore denies the allegations.

20          215.    The allegations in Paragraph 215 of the Complaint contain legal contentions and/or

21   conclusions to which no response is required. To the extent that a response is required, Display

22   denies all allegations in Paragraph 215 that are directed at Display. Display lacks sufficient

23   knowledge or information to form a belief as to the truth of the remaining allegations in Paragraph

24   215, and therefore denies the allegations.

25          216.    The allegations in Paragraph 216 of the Complaint contain legal contentions and/or

26   conclusions to which no response is required. To the extent that a response is required, Display

27   denies all allegations in Paragraph 216 that are directed at Display. Display lacks sufficient

28
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 1   knowledge or information to form a belief as to the truth of the remaining allegations in Paragraph

 2   216, and therefore denies the allegations.

 3          217.    Display denies all allegations in Paragraph 217 that are directed at Display. Display

 4   lacks sufficient knowledge or information to form a belief as to the truth of the remaining allegations

 5   in Paragraph 217, and therefore denies the allegations.

 6          218.    The allegations in Paragraph 218 of the Complaint contain legal contentions and/or

 7   conclusions to which no response is required. To the extent that a response is required, Display

 8   denies all allegations in Paragraph 218 that are directed at Display. Display lacks sufficient

 9   knowledge or information to form a belief as to the truth of the remaining allegations in Paragraph

10   218, and therefore denies the allegations.

11          219.    The allegations in Paragraph 219 of the Complaint contain legal contentions and/or

12   conclusions to which no response is required. To the extent that a response is required, Display

13   denies all allegations in Paragraph 219 that are directed at Display. Display lacks sufficient

14   knowledge or information to form a belief as to the truth of the remaining allegations in Paragraph

15   219, and therefore denies the allegations.

16          220.    The allegations in Paragraph 220 of the Complaint contain legal contentions and/or

17   conclusions to which no response is required. To the extent that a response is required, Display

18   denies all allegations in Paragraph 220, including all subparts, that are directed at Display. Display

19   lacks sufficient knowledge or information to form a belief as to the truth of the remaining allegations

20   in Paragraph 220, and therefore denies the allegations.

21          221.    The allegations in Paragraph 221 of the Complaint contain legal contentions and/or

22   conclusions to which no response is required. To the extent that a response is required, Display

23   denies all allegations in Paragraph 221 that are directed at Display. Display lacks sufficient

24   knowledge or information to form a belief as to the truth of the remaining allegations in Paragraph

25   221, and therefore denies the allegations.

26                                             IX. DAMAGES

27          222.    The allegations in Paragraph 222 of the Complaint contain legal contentions and/or

28   conclusions to which no response is required. To the extent that a response is required, Display
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 1   denies all allegations in Paragraph 222 that are directed at Display. Display lacks sufficient

 2   knowledge or information to form a belief as to the truth of the remaining allegations in Paragraph

 3   222, and therefore denies the allegations.

 4                                         X. PRAYER FOR RELIEF

 5           Display denies that Plaintiffs suffered any injury or incurred any damages by any act or

 6   omission of Display as alleged in the Complaint, and further denies that Plaintiffs are entitled to any

 7   relief under any theory by means of the allegations set forth in each of the paragraphs and their

 8   subparts in the Complaint

 9                                        XI. JURY TRIAL DEMAND

10           The allegations set forth under the heading “Jury Trial Demanded” contain no factual

11   assertions for which a response is required. To the extent that a response is required, Display denies

12   the allegations contained under the heading “Jury Trial Demanded.”

13                                                   DEFENSES

14           Display does not intend to waive, and hereby expressly reserves, its ability to present evidence that

15   Plaintiffs cannot meet their burden of proof to establish each element of their claims, including causation

16   and damages, and to amend this Answer as necessary. Without assuming any burden it would not otherwise

17   bear, Display asserts the following additional and/or affirmative defenses to Plaintiffs’ Complaint:

18                                               FIRST DEFENSE

19                                           (Failure to State a Claim)

20           The Complaint fails to state a claim upon which relief can be granted.

21                                             SECOND DEFENSE

22          (Failure to State a Claim Under the Foreign Trade Antitrust Improvements Act)

23           Plaintiffs’ claims for any foreign purchases, if any, should be dismissed to the extent that

24   they are barred, in whole or in part, because Plaintiffs have failed to allege facts sufficient to support

25   a claim under the Foreign Trade Antitrust Improvements Act, 15 U.S.C. § 6a.

26

27

28
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 1                                            THIRD DEFENSE

 2                                 (Conduct Outside of the United States)

 3          Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 4   part, because the alleged conduct of Display that is the subject of the Complaint either occurred

 5   outside the jurisdiction of the Court or was neither directed to nor affected persons, entities, trade or

 6   commerce in the United States, or both.

 7                                           FOURTH DEFENSE

 8                                           (Vagueness of Claims)

 9          Plaintiffs’ claims should be dismissed for uncertainty and vagueness and because their claims

10   are ambiguous, and/or unintelligible. Display avers that Plaintiffs’ claims do not describe the events

11   or legal theories with sufficient particularity to permit Display to ascertain what other defenses may

12   exist. Display therefore reserves the right to amend its Answer to assert additional defenses and/or

13   supplement, alter, or change its Answer and/or defenses upon the discovery of more definitive facts

14   upon the completion of its investigation and discovery.

15                                             FIFTH DEFENSE

16               (Failure to Allege Fraud or Fraudulent Conspiracy with Particularity)

17          Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

18   because Plaintiffs have failed to allege fraud or fraudulent concealment with sufficient particularity.

19                                             SIXTH DEFENSE

20                            (Failure to Plead Conspiracy with Particularity)

21          Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

22   because Plaintiffs have failed to allege conspiracy with sufficient particularity.

23                                          SEVENTH DEFENSE

24                                          (Statute of Limitation)

25          Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

26   by the applicable statute(s) of limitations.

27

28
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 1                                           EIGHTH DEFENSE

 2                                            (Unilateral Action)

 3          Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 4   part, because the actions or practices of Display that are the subject of the Complaint were

 5   undertaken unilaterally for legitimate business reasons and in pursuit of Display’s independent

 6   interests and those of its customers, and were not the product of any contract, combination or

 7   conspiracy between Display and any other person or entity.

 8                                            NINTH DEFENSE

 9                                           (No Antitrust Injury)

10          Plaintiffs’ claims and claims of any putative class members are barred, in whole or in part,

11   because Plaintiffs and/or certain members of the putative classes have failed to allege “antitrust

12   injury” – i.e., injury that is of the type the antitrust laws were intended to remedy.

13                                            TENTH DEFENSE

14                                               (Competition)

15          Plaintiffs’ claims and claims of any putative class members are barred, in whole or in part,

16   because any acts or practices of Display that are the subject of the Complaint were cost justified or

17   otherwise economically justified and resulted from a good faith effort to meet competition or market

18   conditions.

19                                         ELEVENTH DEFENSE

20                              (Non-actionable or Governmental Privilege)

21          Plaintiffs’ claims are barred, in whole or in part, because the alleged conduct of Display that

22   is the subject of the Complaint was caused by, due to, based upon, or in response to directives, laws,

23   regulations, policies, and/or acts of governments, governmental agencies and entities, and/or

24   regulatory agencies, and such is non-actionable or privileged.

25                                          TWELFTH DEFENSE

26                                               (State Action)

27          Plaintiffs’ claims are barred, in whole or in part, because the alleged conduct of Display that

28   is the subject of the Complaint was caused by or in response to duly enacted laws and/or regulations
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 1   of the People’s Republic of China and is therefore protected under the foreign sovereign compulsion

 2   doctrine, the act of state doctrine, and international comity.

 3                                           THIRTEENTH DEFENSE

 4                                               (No Act of Display)

 5              Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

 6   because no plaintiff has been injured in its business or property by reason of any action of Display.

 7                                          FOURTEENTH DEFENSE

 8                                             (Intervening Conduct)

 9              Plaintiffs’ claims and claims of any putative class members are barred, in whole or in part,

10   because any alleged injuries and/or damages were not legally or proximately caused by any acts or

11   omissions of Display and/or were caused, if at all, solely and proximately by the conduct of third

12   parties including, without limitations, the prior, intervening or superseding conduct of such third

13   parties.

14                                            FIFTEENTH DEFENSE

15                                                   (Ultra Vires)

16              To the extent that any actionable conduct occurred, Plaintiffs claims and the claims of any

17   putative class members against Display are barred because all such conduct would have been

18   committed by individuals acting ultra vires.

19                                            SIXTEENTH DEFENSE

20                                              (Damages Passed On)

21              Plaintiffs’ claims should be dismissed to the extent they are barred, in whole or in part,

22   because any injury or damage alleged in the Complaint, which Display specifically denies, was

23   passed on to persons or entities other than the Plaintiffs and/or was passed on by Plaintiffs to other

24   parties.

25                                          SEVENTEENTH DEFENSE

26                                                   (Legal Acts)

27              Plaintiffs’ claims are barred, in whole or in part, to the extent they are based on alleged acts,

28   conduct or statements that are specifically permitted by law.
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 1                                       EIGHTEENTH DEFENSE

 2                                      (Failure to Mitigate Damages)

 3          Plaintiffs’ claims should be dismissed, in whole or in part, because Plaintiffs and/or certain

 4   members of the putative class failed to take all necessary, reasonable, and appropriate actions to

 5   mitigate their alleged damages, if any.

 6                                       NINETEENTH DEFENSE

 7                                             (Unjust Enrichment)

 8          Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

 9   because Plaintiffs and/or certain members of the putative class would be unjustly enriched if they

10   were allowed to recover any part of the damages alleged in the Amended Complaint.

11                                        TWENTIETH DEFENSE

12                                                  (Set Off)

13          Without admitting that Plaintiffs are entitled to recover damages in this matter, Display is

14   entitled to set off from any recovery Plaintiffs may obtain against Display any amount paid to

15   Plaintiffs by any other Defendants who have settled, or do settle, Plaintiffs’ claims in this matter.

16                                      TWENTY-FIRST DEFENSE

17                                                (Withdrawal)

18          To the extent that any actionable conduct occurred for which Display is liable, some or all of

19   Plaintiffs' claims against Display are barred because Display withdrew from and/or abandoned any

20   alleged conspiracy and thus Plaintiffs cannot establish liability or compensable damages as a matter

21   of law on the basis that, among other things, Display withdrew and/or abandoned any alleged

22   conspiracy prior to the commencement of the limitations period set forth in applicable statutes of

23   limitations.

24                                    TWENTY-SECOND DEFENSE

25                                          (Waiver and Estoppel)

26          Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

27   by the doctrines of waiver and/or estoppel.

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 1                                        TWENTY-THIRD DEFENSE

 2                                                    (Laches)

 3             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

 4   by the equitable doctrine of laches.

 5                                      TWENTY-FOURTH DEFENSE

 6                                               (Unclean Hands)

 7             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

 8   by the equitable doctrine of unclean hands.

 9                                        TWENTY-FIFTH DEFENSE

10                                                (Acquiescence)

11             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

12   by Plaintiffs’ and/or certain members of the putative class acquiescence and/or confirmation of any

13   and all conduct and/or omissions alleged as to Display.

14                                        TWENTY-SIXTH DEFENSE

15                                          (Accord and Satisfaction)

16             Plaintiffs’ claims are barred, in whole or in part, by the doctrine of accord and satisfaction.

17                                      TWENTY-SEVENTH DEFENSE

18                                           (Forum Non Conveniens)

19             The Amended Complaint should be dismissed on the grounds of forum non conveniens.

20                                       TWENTY-EIGHTH DEFENSE

21                                       (Improper Forum/Arbitration)

22             Plaintiffs’ claims and claims of any putative class members against Display are barred to the

23   extent that they have agreed to arbitration or chosen a different forum for the resolution of their

24   claims.

25                                       TWENTY-NINETH DEFENSE

26                                          (Adequate Remedy at Law)

27             Plaintiffs’ claims for injunctive relief should be dismissed because Plaintiffs and/or certain

28   members of the putative class have available an adequate remedy at law.
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 1                                         THIRTIETH DEFENSE

 2                                  (Failure to Join Indispensable Parties)

 3           Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

 4   for failure to join indispensable parties.

 5                                        THIRTY-FIRST DEFENSE

 6                                                  (Due Process)

 7           Plaintiffs’ claims and claims of any putative class members are barred, in whole or in part,

 8   to the extent they seek an improper multiple punitive award for a single wrong because such an

 9   award would violate Display’s rights guaranteed by the Due Process clause of the Fifth Amendment

10   of the United States Constitution.

11                                      THIRTY-SECOND DEFENSE

12                                                  (Due Process)

13           Plaintiffs’ claims and claims of any putative class members are barred, in whole or in part,

14   to the extent they seek an improper multiple punitive award for a single wrong because such an

15   award would violate Display’s rights guaranteed by the Due Process provision of the Fourteenth

16   Amendment of the United States Constitution.

17                                        THIRTY-THIRD DEFENSE

18                                                (Equal Protection)

19           Plaintiffs’ claims and claims of any putative class members are barred, in whole or in part,

20   to the extent they seek an improper multiple punitive award for a single wrong because such an

21   award would violate Display’s rights guaranteed by the Equal Protection provision of the Fourteenth

22   Amendment of the United States Constitution.

23                                      THIRTY-FOURTH DEFENSE

24                                                (Double Jeopardy)

25           Plaintiffs’ claims and claims of any putative class members are barred, in whole or in part,

26   to the extent they seek an improper multiple punitive award for a single wrong because such an

27   award would violate Display’s rights guaranteed by the Double Jeopardy Clause of the Fifth

28   Amendment of the United States Constitution.
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 1                                      THIRTY-FIFTH DEFENSE

 2                                             (Excessive Fines)

 3          Plaintiffs’ claims and claims of any putative class members are barred, in whole or in part,

 4   to the extent they seek an improper multiple punitive award for a single wrong because such an

 5   award would violate Display’s rights guaranteed by the Excessive Fines provision of the Eighth

 6   Amendment of the United States Constitution.

 7                                      THIRTY-SIXTH DEFENSE

 8                                     (Unconstitutional Multiplicity)

 9          To the extent any recovery by Plaintiffs or members of the putative class would be

10   duplicative of recovery by other plaintiffs and other lawsuits, subjecting Display to the possibility

11   of multiple recoveries, such recovery is barred by the Fifth and Eighth Amendments to the United

12   States Constitution.

13                                     THIRTY-SEVENTH DEFENSE

14                                              (Foreign Sales)

15          Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs may not recover damages,

16   if any, based on sales outside of the United States.

17                                     THIRTY-EIGHTH DEFENSE

18                              (Other Defenses Incorporated by Reference)

19          Display adopts and incorporates by reference any and all other additional or affirmative

20   defenses asserted or to be asserted by any other defendants.

21                                     THIRTY-NINETH DEFENSE

22                          (Reservation of Rights to Assert Additional Defenses)

23          Display has not knowingly or intentionally waived any applicable defenses and explicitly

24   reserves the right to assert and rely on such other applicable defenses as may become available or

25   apparent during discovery proceedings. Display further reserves the right to amend its Answer and/or

26   its defenses accordingly, and/or to delete defenses that it determines are not applicable during the

27   course of subsequent discovery.

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     ANSWER OF IRICO DISPLAY DEVICES CO.,             38                   CASE NO.: 4:07-CV-05944-JST
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 1             WHEREFORE, Display prays as follows:

 2             1.    That the Plaintiffs take nothing by way of the Complaint and the Complaint be

 3   dismissed with prejudice;

 4             2.    That judgment be entered in favor of Display and against Plaintiffs on each and every

 5   cause of action set forth in the Complaint;

 6             3.    That Display recover its costs of suit and attorneys’ fees incurred herein; and

 7             4.    That Display be granted such other and further relief as the Court deems just and

 8   proper.

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      Dated: December 18, 2020                        Respectfully submitted,
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11
                                                      /s/ John M. Taladay
12                                                    BAKER BOTTS LLP
                                                      JOHN M. TALADAY
13                                                    THOMAS E. CARTER
                                                      ANDREW L. LUCARELLI
14                                                    700 K Street, N.W.
                                                      Washington, D.C. 20001
15                                                    202.639.7700
                                                      202.639.7890 (fax)
16                                                    Email: john.taladay@bakerbotts.com
                                                             tom.carter@bakerbotts.com
17                                                           drew.lucarelli@bakerbotts.com

18                                                    JONATHAN SHAPIRO
                                                      101 California Street, Suite 3600
19                                                    San Francisco, CA 94111
                                                      415.291.6200
20                                                    415.291.6300 (fax)
                                                      Email: jonathan.shapiro@bakerbotts.com
21

22                                                    Attorneys for Defendant Irico Display Devices
                                                      Co., Ltd.
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     ANSWER OF IRICO DISPLAY DEVICES CO.,             39                    CASE NO.: 4:07-CV-05944-JST
     LTD. TO DIRECT PURCHASER PLAINTIFFS’
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